Case 1:23-cv-00575-JAO-BMK Document 2 Filed 12/05/23 Page 1 of 3 PageID.777



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Attorneys for Defendants
HAWAIIAN ELECTRIC COMPANY, INC.,
MAUI ELECTRIC COMPANY, LIMITED,
HAWAII ELECTRIC LIGHT COMPANY, INC.,
and HAWAIIAN ELECTRIC INDUSTRIES, INC.

               IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI‘I

HAROLD DENNIS WELLS, ET AL.,             Case No. 1:23-cv-575

            Plaintiffs,                  DEFENDANTS MAUI ELECTRIC
                                         COMPANY, LIMITED;
      vs.                                HAWAIIAN ELECTRIC
                                         COMPANY, INC.; AND
MAUI ELECTRIC COMPANY,                   HAWAIIAN ELECTRIC
LIMITED, ET AL.,                         INDUSTRIES, INC.’S
          Defendants.
Case 1:23-cv-00575-JAO-BMK Document 2 Filed 12/05/23 Page 2 of 3 PageID.778



                                                CORPORATE DISCLOSURE
                                                STATEMENT

  DEFENDANTS MAUI ELECTRIC COMPANY, LIMITED; HAWAIIAN
      ELECTRIC COMPANY, INC.; AND HAWAIIAN ELECTRIC
    INDUSTRIES, INC.’S CORPORATE DISCLOSURE STATEMENT
             Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure,

Defendants Maui Electric Company, Limited; Hawaiian Electric Company, Inc.;

and Hawaiian Electric Industries, Inc. hereby disclose as follows:

             Maui Electric Company, Limited is a domestic corporation that is

registered to do business in the State of Hawai‘i. Maui Electric Company, Limited

is wholly owned by Hawaiian Electric Company, Inc.

             Hawaiian Electric, Inc. is a domestic corporation that is registered to

do business in the State of Hawai‘i. Hawaiian Electric, Inc. is wholly owned by

Hawaiian Electric Industries, Inc.

             Hawaiian Electric Industries, Inc. is a domestic corporation that is

registered to do business in the State of Hawai‘i. Hawaiian Electric Industries, Inc.

is a publicly-traded company. No publicly held corporation owns 10% or more of

Hawaiian Electric Industries, Inc.’s stock.

             The undersigned hereby certifies that, as of this date, other than the

named parties, there is no interest to report under Rule 7.1 of the Federal Rules of

Civil Procedure.

             DATED: Honolulu, Hawai‘i, December 5, 2023.

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Case 1:23-cv-00575-JAO-BMK Document 2 Filed 12/05/23 Page 3 of 3 PageID.779



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                            and HAWAIIAN ELECTRIC INDUSTRIES, INC.




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